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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                  )
                                                           )               8:16CR150
                         Plaintiff,                        )
                                                           )
         vs.                                               )                 ORDER
                                                           )
DARWIN J. STEWART and                                      )
DANIEL L. CHELOHA,                                         )
                                                           )
                         Defendants.                       )



         This matter is before the court on the motion to continue by defendant Daniel J. Cheloha (Cheloha)

(Filing No. 64). Cheloha seeks a continuance of the trial scheduled for January 3, 2017. Cheloha's

counsel represents that government's counsel has no objection to the motion. Cheloha has filed an

affidavit wherein he agrees to the motion and understands time will be excluded under the Speedy Trial

Act to accommodate his motion (Filing No. 65). Upon consideration, the motion will be granted.

         IT IS ORDERED:

         1.      Cheloha's motion to continue trial (Filing No. 64) is granted.

         2.      Trial of this matter as to both defendants is re-scheduled for February 27, 2017, before

Senior Judge Joseph F. Bataillon and a jury. The ends of justice have been served by granting such

motion and outweigh the interests of the public and the defendants in a speedy trial. The additional time

arising as a result of the granting of the motion, i.e., the time between December 21, 2016, and February

27, 2017, shall be deemed excludable time in any computation of time under the requirement of the

Speedy Trial Act for the reason that defendants' counsel require additional time to adequately prepare the

case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)

& (B).

         DATED this 21st day of December, 2016.

                                                           BY THE COURT:

                                                           s/ Thomas D. Thalken
                                                           United States Magistrate Judge
